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U.S. Department of Justice

Federal Bureau of Prisons

 

 

Office of the Director Washington, DC 20534

October 31, 2006

MEMORANDUM FOR KATHLEEN M. KENNEY, ASSISTANT DIRECTOR
OFFICE OF GENERAL COUNSEL

JOHN M. VANYUR, ASSISTANT DIRECTOR
CORRECTIONAL PROGRAMS DIVISION

FROM: Harley “q. cary. Director

SUBJECT: Establishment of a Certification Review Panel and
Delegation of Certification Authority

By this memorandum, I am directing the establishment of a
Certification Review Panel (CRP) to review releasing offenders
for civil commitment pursuant to Title 18 U.S.C. § 4248 {a), as
enacted by the Adam Walsh Child Protection and Safety Act of 2006
(Public Law 199-248). This panel is to be composed of staff from
the Correctional Programs Division, the Office of General
Counsel, and others appointed by the Assistant Director,
Correctional Programs Division.

Further, I am delegating authority to certify offenders as
“sexually dangerous persons” as defined under this law, to the
Chairperson of the CRP. On an interim basis, this authority is
delegated to Dr. William T. Bickart, Interim CRP Chairperson, and
Dr. Paul Sahwell or Dr. John Baxter as alternate Chairpersons in
his absence. As a permanent CRP is staffed, this delegated
authority will convey to the Chairperson af the CRP.
